145 F.3d 993
    Kenneth G. MIDDLETON, Appellant,v.CITY OF BLUE SPRINGS, MISSOURI;  Howard Brown, Chief, BlueSprings Police Department;  Dave Link, Sgt., BlueSprings Police Department, Appellees.
    No. 98-1360.
    United States Court of Appeals,Eighth Circuit.
    Submitted May 27, 1998.Decided June 2, 1998.
    
      Kenneth G. Middleton, Appellant Pro Se.
      David S. Baker, Kansas City, MO, argued, for Appellees.
      Before BOWMAN, Chief Judge, WOLLMAN, and MORRIS SHEPPARD ARNOLD, Circuit Judges.
      PER CURIAM.
    
    
      1
      Kenneth G. Middleton, a Missouri prisoner, sought to establish subject-matter jurisdiction based on diversity of citizenship.  He appeals from the dismissal by the District Court1 of his action for lack of jurisdiction and also from the court's denial of his motion for reconsideration.  We affirm.
    
    
      2
      Middleton filed this action against the City of Blue Springs, Missouri, and two members of the Blue Springs police department, alleging that defendants prevented him from obtaining public records in violation of the Missouri "Sunshine Law," Mo.Rev.Stat. §§ 610.010-.150 (1994).  Defendants filed a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter jurisdiction, asserting the case did not involve a controversy exceeding the value of $75,000.  After Middleton responded, the District Court concluded that he "failed to prove the requisite amount by a preponderance of the evidence," and dismissed the case for lack of jurisdiction.  The court also denied Middleton's motion for reconsideration.
    
    
      3
      After carefully reviewing the record and the parties' submissions, we agree that Middleton failed to prove by a preponderance of the evidence that the amount in controversy exceeded $75,000, and we thus conclude the District Court properly dismissed for lack of jurisdiction.  See 28 U.S.C. § 1332 (1994);  State v. Western Surety Co., 51 F.3d 170, 173 (8th Cir.1995) (stating if opposing party or court questions whether alleged amount is "legitimate," party attempting to invoke jurisdiction must prove amount by preponderance of evidence;  once court concludes to legal certainty that plaintiff is not entitled to recover amount required by § 1332, court should dismiss action).  Here, even if Middleton were able to prove that defendants had violated the Sunshine Law on each of the five occasions alleged, the maximum amount he could recover by way of a civil fine would be $2,500, plus costs and reasonable attorney fees.  See Mo.Rev.Stat. § 610.027(3).  Though he claims entitlement to compensatory damages in excess of $100,000, his pleadings are devoid of any assertion to support that claim.  (We need not and do not decide whether the statute permits an award of compensatory damages.)   Neither his complaint nor his response offers any basis for believing that his costs and attorney fees would exceed $72,500.  We are satisfied that subject-matter jurisdiction clearly is not present.
    
    
      4
      We further conclude the District Court did not abuse its discretion in denying Middleton's motion for reconsideration.  See Perkins v. U S West Communications, 138 F.3d 336, 340 (8th Cir.1998) (abuse of discretion review of Fed.R.Civ.P. 59(e) motion);  Sanders v. Clemco Indus., 862 F.2d 161, 169 (8th Cir.1988) (abuse of discretion review of Fed.R.Civ.P. 60(b) motion).
    
    
      5
      The orders of the District Court are affirmed.
    
    
      
        1
         The Honorable Fernando J. Gaitan, Jr., United States District Judge for the Western District of Missouri
      
    
    